                       Case 4:14-cr-00188-DPM                   Document 748             Filed 11/28/16         Page 1 of 6
AO 245B (Rev. 10/15) Judgment in a Criminal Case
                     Sheet I
                                                                                                                         FILED
                                                                                                                      U.S. DISTRICT COURT
                                                                                                                  EASTERN DISTRICIARKANS•s


                                          UNITED STATES DISTRICT COURT                                                NOV 28 2016
                                                           Eastern District of Arkansas
                                                                                                          JAM~K
                                                                                                            ~
                                                                                                          By:
                                                                          )                                                             D~     L   K
               UNITED STATES OF AMERICA                                   )      JUDGMENT IN A CRIMINAL CASE
                                  v.                                      )
                        RICHARD BEASON                                    )
                                                                          )       Case Number: 4:14CR00188-05 JLH
                                                                          )       USM Number: 28731-009
                                                                          )
                                                                          )        Jeff Rosenzweig
                                                                          )       Defendant's Attorney
THE DEFENDANT:
Ill pleaded guilty to count(s)         Count 1s of Superseding Indictment

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended               Count
 21 U.S.C. §§ 846; and              Conspiracy to possess with intent to distribute and to                   9/9/2014                     1s

  841{a){1) and {b){1){B)              distribute cocaine, a Class B felony



       The defendant is sentenced as provided in pages 2 through         __6_ _ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
IZI Count(s)      1, 2, 33, 34, 2s, 29s, 30s             D is     IZI are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any chan~e of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notify the court and United States attorney of material cnanges in econonnc circumstances.

                                                                          11/28/2016




                                                                          J. Leon Holmes, United States District Judge
                                                                         Name and Title of Judge


                                                                          11/28/2016
                                                                         Date
                       Case 4:14-cr-00188-DPM              Document 748            Filed 11/28/16        Page 2 of 6
AO 245B (Rev. 10/15) Judgment in Criminal Case
                       Sheet 2 - Imprisonment
                                                                                                   Judgment - Page   _2=-- of   6
 DEFENDANT: RICHARD BEASON
 CASE NUMBER: 4:14CR00188-05 JLH

                                                          IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:
  120 MONTHS




     ILi The court makes the following recommendations to the Bureau of Prisons:

  The Court recommends the defendant participate in nonresidential substance abuse treatment, mental health counseling with
  an emphasis in anger management, and educational and vocational programs during incarceration.


     Ill The defendant is remanded to the custody of the United States Marshal.

     D The defendant shall surrender to the United States Marshal for this district:
          D at                                   D a.m.      D p.m.      on

          D as notified by the United States Marshal.

     D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D before 2 p.m. on
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                       to

a - - - - - - - - - - - - - - - , with a certified copy of this judgment.



                                                                                               UNITED STATES MARSHAL



                                                                        By ------======-:=====-=:::-:-::=:c-::-:-:--==:::-:-::----~
                                                                                            DEPUTY UNITED STATES MARSHAL
                         Case 4:14-cr-00188-DPM                  Document 748            Filed 11/28/16           Page 3 of 6

AO 245B (Rev. 10/15) Judgment in a Criminal Case
                       Sheet 3 - Supervised Release
                                                                                                                            3_ of
                                                                                                            Judgment-Page _ _                   6
 DEFENDANT: RICHARD BEASON
 CASE NUMBER: 4:14CR00188-05 JLH
                                                          SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of :
 FOUR (4) YEARS

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully p<?ssess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment anct at least two periodic drug tests
 thereafter, as determined by the court.
 D        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)

          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

 D        The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
          as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
          works, is a student, or was convicted of a qualifying offense. (Check. if applicable.)

 D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
     1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
     5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
     6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not associate with any })ersons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do sooy the probation officer;
  10)      the defendant shall })ermit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observect in plain view of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the d~fe.ndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           perm1ss1on of the court; and
  13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
           record or Rersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
           defendant s compliance with such notification requirement.
                      Case 4:14-cr-00188-DPM           Document 748          Filed 11/28/16        Page 4 of 6

AO 245B (Rev. 10/15) Judgment in a Criminal Case
        Sheet 3A - Supervised Release
                                                                                              Judgment-Page     4     of      6
DEFENDANT: RICHARD BEASON
CASE NUMBER: 4:14CR00188-05 JLH

                                      ADDITIONAL SUPERVISED RELEASE TERMS
 14) The defendant must participate, under the guidance and supervision of the probation officer, in a substance abuse
 treatment program which may include testing, outpatient counseling, and residential treatment. The defendant must
 abstain from the use of alcohol throughout the course of treatment.

 15) The defendant must participate in an anger management counseling program under the guidance and supervision of
 the probation office. The defendant will pay for the cost of treatment at the rate of $1 O per session, with the total cost not
 to exceed $40 per month, based on ability to pay as determined by the probation office. In the event the defendant is
 financially unable to pay for the cost of treatment, the co-pay requirement will be waived.

 16) The defendant must participate in a gambling addiction treatment program under the guidance and supervision of the
 probation office and provide verification of attendance. The defendant will pay for the cost of treatment at the rate of $10
 per session, with the total cost not to exceed $40 per month, based on ability to pay as determined by the probation office.
 In the event the defendant is financially unable to pay for the cost of treatment, the co-pay requirement will be waived.

 17) The defendant may not obtain employment in an industry associated or affiliated with gambling.

 18) The defendant may not frequent gambling establishments.
                        Case 4:14-cr-00188-DPM                    Document 748             Filed 11/28/16       Page 5 of 6
AO 245B (Rev. 10/15) Judgment in a Criminal Case
          Sheet 5 - Criminal Monetary Penalties
                                                                                                                       5_ of
                                                                                                      Judgment -Page _ _                  6
 DEFENDANT: RICHARD BEASON
 CASE NUMBER: 4:14CR00188-05 JLH
                                                   CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                        Assessment                                         Fine                               Restitution
 TOTALS             $   100.00                                         $    0.00                          $    0.00


 D    The determination of restitution is deferred until
                                                         ----
                                                             . An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

 D    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned pa~ent, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
      before the United States is paid.

   Name of Payee                                                             Total Loss*         Restitution Ordered Priority or Percentage




 TOTALS                               $                       0.00


 D     Restitution amount ordered pursuant to plea agreement $

 D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       D    the interest requirement is waived for the        D    fme     D restitution.
       D    the interest requirement for the        D   fme       D restitution is modified as follows:

 *Findings for the total amountoflosses arereq_uired under Chapters 109A, 110, 1 lOA, and 113A ofTitle 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
                       Case 4:14-cr-00188-DPM                     Document 748              Filed 11/28/16             Page 6 of 6
AO 245B (Rev. 10/15) Judgment in a Criminal Case
        Sheet 6 - Schedule of Payments
                                                                                                                Judgment - Page              of
 DEFENDANT: RICHARD BEASON
 CASE NUMBER: 4:14CR00188-05 JLH

                                                       SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     '21 Lump sum payment of$ -100.00
                                  - - - - - - due immediately, balance due
            0      not later than                                     , or
            O      in accordance         0 C,        0 D,        O E, or         O Fbelow; or
 B     O Payment to begin immediately (may be combined with                   O C,         O D, or       O F below); or
 C     O Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                            (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

 D     O Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                            (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E     O Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     O    Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment ofcriminal mone~penalties is due during
 imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 0     Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.




 0     The defendant shall pay the cost of prosecution.

 0     The defendant shall pay the following court cost(s):

 0     The defendant shall forfeit the defendant's interest in the following property to the United States:




 Pa~ents shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
